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UNITED sTATEs DISTRICT coURT " ‘ ` /YY\/

WESTERN DISTRICT OF TENNESSEE 135 £_;?D 22 $DH lex 252

EASTERN DIVISION
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CL‘¢_.‘".‘Z'-i., 1.5.3. D|S'l'. C'"i`.
ROBERT CARR, ) W.D, Ul: TN, MEMPHlF€
)
Plaintiff )
)
V. ) NO. 1:02-01203-B-P
) .
CORRECTIONS CORPORATION )
OF AMERICA, et al., )
)
Defendants )

 

ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. 'I`he parties
are in agreement that due to the scheduled Mediation in this matter, additional time Would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ Written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the
deadline to tile a Motion to Cornpel is extended up to and including June 10, 2005.

IT IS SO ORDERED.

LM\

JUDGE `
DATED; “f/lL/QJ

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APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Rjtchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Colurnbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

By:

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Attomeys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
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Honorable J. Breen
US DISTRICT COURT

